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DMP:FJN/MTK/SKW
F.#2020R00610

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------X

UNITED STATES OF AMERICA                              COMPLAINT AND
                                                      AFFIDAVIT IN SUPPORT
           - against -                                OF APPLICATION FOR
                                                      ARREST WARRANT
SAM RESTO,
                                                      (18 U.S.C. § 844(i))
                         Defendant.
                                                      No. 20-M-665
---------------------------X

EASTERN DISTRICT OF NEW YORK, SS:

              SARAH B. BERNAL, being duly sworn, deposes and states that she is a

Special Agent with the Federal Bureau of Investigation, duly appointed according to law and

acting as such.

                            Causing Damage by Fire – Police Vehicle

              On or about July 29, 2020, within the Eastern District of New York and

elsewhere, the defendant SAM RESTO did knowingly, intentionally and maliciously

damage, and attempt to damage and destroy, by means of fire, a vehicle and other real

property used in interstate and foreign commerce and in an activity affecting interstate and

foreign commerce, to wit: a New York City Police Department vehicle in New York, New

York.

              (Title 18, United States Code, Section 844(i))
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                The source of your deponent’s information and the grounds for her belief are

as follows: 1

                1.     I am a Special Agent with the Federal Bureau of Investigation (“FBI”)

assigned to the Joint Terrorism Task Force (“JTTF”). I have been a Special Agent for

approximately three years. As a Special Agent, I have investigated numerous matters during

the course of which I have conducted physical and electronic surveillance, interviewed

witnesses, executed court-authorized search warrants and used other investigative techniques

to secure relevant information regarding a variety of crimes. I am familiar with the facts and

circumstances set forth below from my personal review of records, documents and other

physical evidence obtained during this investigation, and from communications and

information provided to me by fellow agents and other government personnel with

knowledge related to this investigation.

                2.     On or about July 28, 2020, at approximately 10:40 p.m., the defendant

SAM RESTO purchased gasoline from a gas station located in Elmhurst, New York.

RESTO was wearing a dark Adidas hat, a dark long-sleeve top, dark jeans, dark Nike

sneakers and dark gloves with blue trim with the fingers cut off. At the gas station, RESTO

used a self-service pump and placed gasoline into a red jerry can that RESTO was carrying.

An image of RESTO at the gas station in Elmhurst, New York is shown below.




       1
               Because the purpose of this Complaint is to set forth only those facts necessary
to establish probable cause to arrest, I have not described all the relevant facts and
circumstances of which I am aware.
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              3.     New York City Police Department (“NYPD”) officers conducting

surveillance watched as RESTO took the red jerry can to his home in Elmhurst, New York.

At approximately 11:47 p.m. that same evening, NYPD officers observed RESTO leave his

home in Elmhurst, New York, wearing what appeared to be the same clothing he wore to the

gas station. RESTO was also carrying a backpack. NYPD officers observed RESTO get

into a ride share vehicle and travel from Elmhurst to Manhattan.

              4.     On or about July 29, 2020, at approximately 3:50 a.m., an individual

later identified as the defendant SAM RESTO approached a marked NYPD Ford Fusion

motor vehicle (the “NYPD Vehicle”) parked in the vicinity of 73 West 83rd Street, near the
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intersection of Columbus Avenue and West 83rd Street. The NYPD Vehicle was marked

“NYPD” and “POLICE” in multiple areas, and bore visible police lights. RESTO was

wearing dark clothing and dark gloves similar to what RESTO had worn at the Elmhurst,

New York gas station approximately five hours earlier. RESTO was also wearing a white

mask that covered his face.

              5.     RESTO broke the front passenger-side window of the NYPD Vehicle

with a blunt instrument and poured gasoline into the interior. RESTO then lit the NYPD

Vehicle on fire and fled east on West 83rd Street toward Central Park. NYPD officers

obtained video footage of RESTO igniting the NYPD Vehicle. Images of RESTO igniting

the NYPD Vehicle are shown below.
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              6.     NYPD officers subsequently found an abandoned backpack in Central

Park, near the intersection of Central Park West and West 83rd Street. The backpack was

similar in appearance to the one that NYPD officers had observed the defendant SAM

RESTO wearing approximately four hours earlier when he had left his home in Elmhurst to

travel to Manhattan. A search of the backpack revealed a dark Adidas hat, a dark long-

sleeve top, dark jeans, dark Nike sneakers and dark gloves with blue trim with the fingers cut

off, all of which were similar to the clothes that RESTO was wearing when he purchased

gasoline in Elmhurst, New York earlier that evening. The backpack also contained a white

Guy Fawkes mask, a red two-gallon jerry can similar to the can that RESTO was carrying at

the gas station in Elmhurst, a hammer, lighters and other items. The jerry can contained a

liquid that smelled like gasoline. An image of some of the items recovered from the

backpack is shown below.
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              7.      Law enforcement personnel examined the contents of the backpack for

latent fingerprints. A law enforcement analysis determined that two latent fingerprints

recovered from the spout of the red jerry can were a match to the defendant SAM RESTO’s

right middle and right index fingerprints.

              8.      Law enforcement personnel also obtained cellular tower data for a

telephone associated with RESTO. Preliminary analysis of the cellular tower data showed

that RESTO’s telephone was in close proximity to the location of the parked NYPD Vehicle

located at 73 West 83rd Street at 3:50 a.m. on July 29, 2020, the approximate time the NYPD

Vehicle was set on fire. Preliminary analysis of cellular tower data also showed that,

approximately five minutes later, RESTO’s telephone was in close proximity to the location

in Central Park where the backpack was recovered.

              9.      The NYPD Vehicle is the property of the NYPD and the New York

City government. Both the NYPD and New York City government conduct business in

interstate commerce, for instance by purchasing vehicles and other equipment and supplies in
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interstate commerce. The activities of the NYPD and the New York City government in

enacting and enforcing laws also affect interstate commerce. The NYPD and the New York

City government are also the recipients of financial assistance from the federal government,

including grants from the U.S. Department of Homeland Security.

              WHEREFORE, your deponent respectfully requests that the defendant SAM

RESTO be dealt with according to law.



                                           SARAH B. BERNAL
                                           Special Agent, Federal Bureau of Investigation

Sworn to before me through the transmission of this
Affidavit by reliable telephonic and electronic means
Pursuant to Federal Rule of Criminal Procedure 4.1,
this 13th day of August, 2020



THE HONORABLE PEGGY KUO
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
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AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                    Eastern District of New York

                  United States of America
                             v.                                   )
                          SAM RESTO                               )        Case No.    20-M-665
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                            Defendant


                                                    ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      SAM RESTO                                                                                         ,
who is accused of an offense or violation based on the following document filed with the court:

’ Indictment              ’ Superseding Indictment       ’ Information        ’ Superseding Information             ✔ Complaint
                                                                                                                    ’
’ Probation Violation Petition            ’ Supervised Release Violation Petition       ’ Violation Notice          ’ Order of the Court

This offense is briefly described as follows:
  Causing Damage by Fire - Police Vehicle, in violation of Title 18, United States Code, Section 844(i)




Date:         08/13/2020
                                                                                         Issuing officer’s signature

City and state:       Brooklyn, New York                                           Peggy Kuo, U.S. Magistrate Judge
                                                                                           Printed name and title


                                                                Return

           This warrant was received on (date)                        , and the person was arrested on (date)
at (city and state)                                         .

Date:
                                                                                        Arresting officer’s signature



                                                                                           Printed name and title
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